
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-02-445-CV

MICHAEL R. BENBO 	APPELLANT



V.



BILLY COULSON, D.D.S. 	APPELLEE



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FROM THE 89
TH
 
DISTRICT COURT OF WICHITA COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On January 3, 2003, we notified appellant, in accordance with rule 42.3, that this court may not have jurisdiction over this appeal because there is no final judgment. &nbsp;
T
EX.
 R. A
PP.
 P. 42.3. &nbsp;We stated that the appeal would be dismissed for want of jurisdiction unless appellant or any party desiring to continue the appeal filed with the court within ten days a response showing grounds for continuing the appeal. 

We received appellant’s response on January 17, 2003. &nbsp;The appellant’s response has been considered, and it is the opinion of the court that this appeal should be dismissed for want of jurisdiction. &nbsp;
See
 T
EX
. R. A
PP
. P. 42.3(a), 43.2(f). &nbsp;Accordingly, we dismiss the appeal.



PER CURIAM 					

PANEL D:	HOLMAN, GARDNER, and WALKER, JJ.



[DELIVERED JANUARY 30, 2003]





















FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




